  Case 2:98-cr-00207-JTM-MBN            Document 1030         Filed 03/26/07     Page 1 of 22




                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                            CRIMINAL ACTION

VERSUS                                                              NO. 98-207

CLIFFORD BAPTISTE,                                                  SECTION “N”
CHRISTOPHER FRANK,
BRIAN ANTHONY JONES,
LESHAWN PARKER,
RICO SCHEXNAYDER



                                 ORDER AND REASONS

       This Order pertains to those habeas petitions filed pursuant to 28 U.S.C. § 2255 and arising

out of Criminal Docket No. 98-207 of the United States District Court for the Eastern District of

Louisiana. Defendants Clifford Baptiste, Christopher Frank, Brian Anthony Jones, LeShawn Parker,

and Rico Schexnayder each allege a variety of grounds for relief pursuant to § 2255, and several of

those arguments are common to more than one defendant. Accordingly, the Court will set forth each

of the arguments made by each defendant, and then treat each argument in singular fashion as to all

defendants making such argument.



                                                -1-
     Case 2:98-cr-00207-JTM-MBN          Document 1030        Filed 03/26/07     Page 2 of 22




I.      Grounds for Relief Sought

        The enumerated grounds for relief upon which one or more of the defendants seeks relief are

as follows:

        (1)    Appellate counsel was ineffective in failing to file a motion to quash the

               superseding indictment for failing to allege a drug quantity or request that drug

               quantities be submitted to the jury. Baptiste, Frank, Jones, Schexnayder

        (2)    Trial counsel failed to file a motion in limine under Rule 403 of the Federal

               Rules of Evidence in order to exclude prejudicial evidence used at trial.

               Baptiste, Frank, Jones, Parker

        (3)    Trial counsel failed to object to the government’s and the court’s instructions

               constructively amending the indictment, which then violated petitioners’ Fifth

               Amendment and Sixth Amendment rights. Frank, Jones

        (4)    Trial counsel failed to object to the government’s use and the trial court’s

               admission of a summary chart into evidence and the jury room under Rule 1006

               of the Federal Rules of Evidence. Baptiste, Frank, Jones, Parker.

        (5)    Trial counsel failed to file a motion to suppress evidence seized in violation of

               the Fourth Amendment. Jones, Parker

        (6)    Trial counsel failed to request a limiting instruction on evidence that was

               admissible for a limited purpose under Rule 105 of the Federal Rules of

               Evidence. Baptiste, Frank, Jones



                                                -2-
Case 2:98-cr-00207-JTM-MBN         Document 1030        Filed 03/26/07     Page 3 of 22




   (7)    Appellate counsel failed to raise trial counsel’s objection to the application of

          the sentencing guideline for murder in violation of the notice and jury trial

          guarantee of the Sixth Amendment. Baptiste, Jones

   (8)    Trial counsel failed to request an instruction to adequately present a defense

          where evidence supported such defense. Jones, Parker, Schexnayder

   (9)    In violation of the Fifth Amendment, counsel failed to discover the amending

          of the indictment without the grand jury being informed. Baptiste, Frank, Jones

   (10)   Defense counsel violated petitioner’s Fifth and Sixth Amendment rights,

          including their due process rights, to be present at all stages of the proceeding.

          Baptiste, Jones, Schexnayder

   (11)   Trial counsel failed to request a special verdict form on the conspiracy count for

          the jury to determine the element of the conspiracy offense. Frank, Jones,

          Parker, Schexnayder

   (12)   The cumulative effect of the errors committed by counsel, the government, and

          the trial court have denied petitioners a fair trial. Baptiste, Jones, Schexnayder

   (13)   Trial counsel was ineffective for failing to object to improper comments made

          by the prosecutor in closing arguments. Baptiste, Frank

   (14)   Trial counsel violated petitioner’s right under the Fifth, Sixth, and Fourteenth

          Amendments when petitioner was not permitted to testify at his own trial.

          Frank


                                          -3-
      Case 2:98-cr-00207-JTM-MBN          Document 1030          Filed 03/26/07       Page 4 of 22




         (15)   Trial counsel was inadequately prepared, did not properly consult with him,

                and was incompetent. Frank

         (16)   Evidence of the murders and attempted murders is extrinsic evidence under

                Rule 404(b) of the Federal Rules of Evidence and his counsel was ineffective for

                concentrating on this evidence. Frank

         (17)   Petitioner was not given reasonable notice of admission of Rule 404(b) evidence.

                Frank

         (18)   Counsel was ineffective for failing to object to admission of petitioner’s prior

                felony conviction. Frank

These various grounds for relief are addressed serially hereinbelow.

II.      The Defendants

         A)     Clifford Baptiste (Civil Action No. 04-658)

         Baptiste was convicted on September 20, 1999 of conspiracy to distribute narcotics in

violation of 21 U.S.C. §§ 841 and 846, using or carrying a firearm during or in relation to a drug

trafficking crime in violation of 18 U.S.C. § 924(c)(1), and possession of a firearm by a convicted

felon in violation of 18 U.S.C. § 922(g)(1).

         He did not testify at trial and was sentenced to life imprisonment, 60 months, and 120 months

concurrently. He appealed the conviction to the United States Fifth Circuit Court of Appeals.

United States v. Baptiste, 264 F.3d 578 (5th Cir. 2001), aff’d in part, rev’d in part, 309 F.3d 274 (5th

Cir. 2002).


                                                  -4-
  Case 2:98-cr-00207-JTM-MBN              Document 1030          Filed 03/26/07       Page 5 of 22




       Baptiste’s § 2255 motion is based upon the following enumerated grounds: 1, 2, 4, 6, 7, 9,

10, 12 and 13.

       B)        Christopher Frank (Civil Action No. 04-289)

       Frank was convicted on May 14, 1999 of conspiracy to distribute narcotics in violation of

21 U.S.C. §§ 841 and 846, using or carrying a firearm during or in relation to a drug trafficking

crime in violation of 18 U.S.C. § 924(c)(1), and possession of a firearm by a convicted felon in

violation of 18 U.S.C. § 922(g)(1). He did not testify at trial. Frank was sentenced to life

imprisonment, 60 months, and 120 months. He appealed the conviction to the United States Fifth

Circuit Court of Appeals. United States v. Baptiste, 264 F.3d 578 (5th Cir. 2001), aff’d in part, rev’d

in part, 309 F.3d 274 (5th Cir. 2002).

       Frank’s § 2255 motion is based upon the following grounds: 1, 2, 4, 6, 7, 9, 10, 12 and 13.

       C)        Brian Anthony Jones (Civil Action No. 04-1019)

       Jones was convicted on May 17, 1999 of conspiracy to distribute narcotics in violation of

21 U.S.C. §§ 841 and 846 and using or carrying a firearm during or in relation to a drug trafficking

crime in violation of 18 U.S.C. § 924(c)(1). Jones testified at trial. He was sentenced to life

imprisonment and 60 months. He appealed his conviction to the Fifth Circuit Court of Appeals.

United States v. Baptiste, 264 F.3d 578 (5th Cir. 2001), aff’d in part, rev’d in part, 309 F.3d 274 (5th

Cir. 2002).

       Jones seeks § 2255 relief upon the following grounds: 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, and 12.



                                                  -5-
  Case 2:98-cr-00207-JTM-MBN               Document 1030          Filed 03/26/07       Page 6 of 22




        D)      LeShawn Parker (Civil Action No. 04-294)

        Parker was convicted on May 19, 1999 of conspiracy to distribute narcotics in violation of

21 U.S.C. §§ 841 and 846 and using or carrying a firearm during or in relation to a drug trafficking

crime in violation of 18 U.S.C. § 924(c)(1). He did not testify at trial. Parker was sentenced to life

imprisonment and 60 months. He appealed his conviction to the Fifth Circuit Court of Appeals.

United States v. Baptiste, 264 F.3d 578 (5th Cir. 2001), aff’d in part, rev’d in part, 309 F.3d 274 (5th

Cir. 2002).

        Parker seeks § 2255 relief upon the following grounds: 2, 4, 5, 8, and 11.

        E)      Rico Schexnayder (Civil Action No. 04-981)

        Schexnayder was convicted on May 19, 1999 for conspiracy to distribute narcotics in

violation of 21 U.S.C. § 846. He did not testify at trial. Schexnayder was sentenced to life

imprisonment and a fine of $17,500.00. He appealed his conviction to the United States Fifth

Circuit Court of Appeals. United States v. Baptiste, 264 F.3d 578 (5th Cir. 2001), aff’d in part, rev’d

in part, 309 F.3d 274 (5th Cir. 2002).

        Schexnayder seeks § 2255 relief upon the following grounds: 1, 8, 10, 11, and 12.

III.    Law and Analysis

        1.      Ineffective assistance of counsel.

        The Sixth Amendment guarantees the right to effective assistance of counsel in criminal

prosecutions.1 In Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984),


        1
          See McMann v. Richardson, 397 U.S. 759, 711 n.14 (1970) (6th Amendment right to counsel is right
to effective assistance of counsel).

                                                   -6-
   Case 2:98-cr-00207-JTM-MBN                 Document 1030           Filed 03/26/07        Page 7 of 22




the Supreme Court established a two-prong test to evaluate ineffective assistance claims. To obtain

reversal of a conviction under the Strickland standard, the defendant must prove that counsel’s

performance fell below an objective standard of reasonableness2 and that counsel’s deficient

performance prejudiced the defendant, resulting in an unreliable or fundamentally unfair outcome

in the proceeding.3 A defendant’s failure to satisfy one prong of the Strickland test negates a court’s

need to consider the other.4 In deciding whether a counsel’s performance was ineffective under

Strickland, a court must consider the totality of the circumstances.5




        2
         See Strickland, 466 U.S. at 687-88; Harris v. Day, 226 F.3d 361, 364 (5th Cir. 2000) (judicial
scrutiny of counsel’s performance must be highly deferential, given “strong presumption” that counsel’s
conduct was reasonable professional conduct).
        3
         See Strickland, 466 U.S. at 687; see also Williams v. Taylor, 529 U.S. 362, 396-99 (2000).
        4
         See 466 U.S. at 697; see, e.g., Martin v. Cain, 246 F.3d 471, 477 (5th Cir. 2001) (court need not
address Strickland’s performance prong because defendant could not show prejudice).
        5
         See 466 U.S. at 690 (court must “determine whether, in light of all the circumstances, the identified
acts or omissions were outside the wide range of reasonable professional judgment”); see also Murray v.
Carrier, 477 U.S. 478, 496 (1986) (“[T]he right to effective assistance of counsel. . . may in a particular case
be violated by even an isolated error of counsel if that error is sufficiently egregious and prejudicial.”)

                                                      -7-
   Case 2:98-cr-00207-JTM-MBN                Document 1030           Filed 03/26/07        Page 8 of 22




        Under the performance prong of Strickland, there is a “strong presumption”6 that counsel’s

strategy and tactics fall “within the wide range of reasonable professional assistance.”7 Courts have

declined to characterize counsel’s performance as ineffective assistance when counsel acted

according to the defendant’s restrictions on strategy,8 when the defendant failed to provide counsel

with complete and accurate information,9 or when counsel refused to “assist[] the client in presenting

false evidence or otherwise violating the law.”10




        6
         In interpreting the prejudice prong, the Supreme Court has identified a narrow category of cases in
which prejudice is presumed. See Strickland, 466 U.S. at 692 (1984). The presumption applies when there
has been an “[a]ctual or constructive denial of the assistance of counsel altogether”, when counsel is burdened
by an actual conflict of interest, or when there are “various kinds of state interference with counsel’s
assistance.” See id.; Cuyler v. Sullivan, 446 U.S. 335, 350 (1980). In these situations, prejudice is so likely
to occur that a case-by-case inquiry is unnecessary. The circumstances for presuming prejudice are not
present herein. See Strickland, 466 U.S. at 692; see also United States v. Cronic, 466 U.S. 648, 658 (1984).
        7
         Strickland, 466 U.S. 668, 689 (1984).
        8
         See, e.g., Moore v. Johnson, 194 F.3d 586, 607 (5th Cir. 1999) (counsel’s purported failure to
expend pretrial resources in an effort to unearth evidence that may have contradicted defendant’s alibi defense
was not ineffective assistance because defendant chose and insisted on alibi defense).
        9
         See e.g., Lackey v. Johnson, 116 F.3d 149, 152 (5th Cir. 1997) (counsel’s failure to avoid eliciting
damaging testimony from defense witness was not ineffective assistance because defendant did not inform
counsel he molested daughter).
        10
         Nix v. Whiteside, 475 U.S. 157, 166, 171 (1986) (counsel provided effective assistance by
preventing defendant from committing perjury).

                                                     -8-
   Case 2:98-cr-00207-JTM-MBN                Document 1030           Filed 03/26/07        Page 9 of 22




        Since prejudice is not presumed, the defendant must show that counsel’s errors were

prejudicial and deprived defendant of a “fair trial, a trial whose result is reliable.”11 This burden

generally is met by showing that the outcome of the proceeding would have been different but for

counsel’s errors.12 However, in some cases, the court will inquire further to determine whether

counsel’s ineffective assistance “deprive[d] the defendant of a substantive or procedural right to

which the law entitles him.” In the context of a guilty plea, a defendant can satisfy the prejudice

prong by demonstrating that but for counsel’s deficient performance, a reasonable probability exists

that the defendant would not have pleaded guilty and would have insisted on a trial.13 Similarly, in

the context of a procedurally defaulted appeal, a defendant can satisfy the prejudice prong by

demonstrating that there is a reasonable probability that, but for counsel’s deficient failure to consult

with defendant about an appeal, defendant would have timely appealed.14




        11
          Strickland, 466 U.S. at 687. Unlike the performance prong of the Strickland test, which is analyzed
at the time of trial, the prejudice prong of the Strickland test is examined under the law at the time the
ineffective assistance claim is evaluated. See Lockhart v. Fretwell, 506 U.S. 364, 367-68 (1993).
        12
          See Williams v. Taylor, 529 U.S. 362, 391-93 (2000). To prove prejudice, the defendant must
establish a “reasonable probability” that but for counsel’s unprofessional errors, the result of the proceeding
would have been different. Strickland, 466 U.S. at 692. The Court has rejected the proposition that the
defendant must prove more likely than not that the outcome would have been altered. See id.; see also
Woodford v. Viscotti, 537 U.S. 19, 22-23 (2002).
        13
         See Hill v. Lockhart, 474 U.S. 52, 59 (1985); see e.g. Daniel v. Cockrell, 283 F.3d 697, 708 (5th
Cir. 2002).
        14
          See Roe v. Flores-Ortega, 528 U.S. 470, 484 (2000).

                                                     -9-
  Case 2:98-cr-00207-JTM-MBN              Document 1030          Filed 03/26/07      Page 10 of 22




         2.     Appellate counsel was ineffective in failing to file a motion to quash the
                superseding indictment for failure to allege a drug quantity, or request that
                drug quantities be submitted to the jury. Baptiste, Frank, Jones, Schexnayder

         Petitioners argue that because the trial court failed to include a quantity of drugs in the

indictment, the defendants’s sentences should be properly rejected. On appeal, defendants

successfully argued that under Apprendi, their sentences should be vacated. However, the Fifth

Circuit then affirmed because the presence of a conspiracy had been established at trial and the

amount of crack distributed during the conspiracy far exceeded 50 grams, the maximum sentencing

amount. This omission then resulted in a harmless sentencing error. See United States v. Cotton, 535

U.S. 625 (2002). Sentencing Guideline § 2D1.1 with its reference to § 2A1.1 was applied in these

cases.

         Baptiste argues that the Fifth Circuit did not properly place the burden of harmless error upon

the government because he objected to the sentencing at trial. United States v. Baptiste, 309 F.3d

274 (5th Cir. 2002). However, the District Court will not and cannot review decisions of the United

States Fifth Circuit Court of Appeals’ application of the harmless error standard.

         Moreover, “[I]t is settled in this Circuit that issues raised and disposed of in a previous

appeal from an original judgment of conviction are not considered in § 2255 motions.” United States

v. Kalish, 780 F.2d 506, 508 (5th Cir. 1986).

         Later, petitioners attempt to apply the holding in United States v. Booker, 125 S.Ct. 738

(2005) to this § 2255 motion. However, even if the holding in Booker was applicable, it would only

apply retroactively to cases on direct review, not collateral as in this case.



                                                  -10-
  Case 2:98-cr-00207-JTM-MBN             Document 1030         Filed 03/26/07      Page 11 of 22




        3.      Trial counsel failed to file a motion in limine under Rule 403 of the Federal
                Rules of Evidence in order to exclude prejudicial evidence used at trial.
                Baptiste, Frank, Jones, Parker

        Rule 403 of the Federal Rules of Evidence provides for exclusion of evidence that is unfairly

prejudicial because the prejudice substantially outweighs the probative value. However, the evidence

to which petitioners refer in this claim does not meet this standard. First, the photographs of the

murders may be prejudicial, but not unfairly so. The petitioners fail to distinguish the photographs

admitted in their trial from those admitted in other Fifth Circuit cases such as United States v.

McRae, 539 F.2d 700 (5th Cir. 1979) and United States v. Hall, 152 F.3d 381 (5th Cir. 1999).

McRae states that “[U]nless trials are to be conducted on scenarios, on unreal facts tailored and

sanitized for the occasion, the application of Rule 403 must be cautious and sparing.” Second, the

Fifth Circuit rejected the argument that the evidence of the murders committed by these members

of the conspiracy were not related to the conspiracy charge or use of a firearm in furtherance of that

conspiracy. Because the Fifth Circuit has already ruled on this issue, the District Court declines to

readdress it.

        Furthermore, successful motions were made at trial to exclude certain of the photographs.

The petitioners have no basis for concluding that, if the motion in limine or objection at trial had

been raised, the other photographs would have been excluded. Therefore, they have no basis to

establish ineffective counsel or prejudice under Strickland.




                                                -11-
  Case 2:98-cr-00207-JTM-MBN             Document 1030          Filed 03/26/07      Page 12 of 22




       4.      Trial counsel failed to object to the government’s and the Court’s instructions
               constructively amending the indictment, which then violated petitioners’ Fifth
               Amendment and Sixth Amendment rights. Frank, Jones

       This claim is essentially another way to attempt to have the firearms charges divorced from

the murders and attempted murders, which the Fifth Circuit has already addressed. An indictment

is constructively amended if the jury is allowed to convict a defendant upon a factual basis that

modifies an essential element of the crime charged. However, when the indictment contains an

accurate description of the crime, and that crime was prosecuted at trial, no amendment to the

indictment has occurred. United States v. Robles-Vertiz, 155 F.3d 725, 728 (5th Cir. 1988). The

Fifth Circuit already found in Baptiste that “there was no plainly erroneous variance between the

final indictment and the proof at trial.” United States v. Baptiste, 264 F.3d 578, 595 (5th Cir. 2001),

aff’d in part, rev’d in part, 309 F.3d 274 (5th Cir. 2002). Neither prong of the Strickland test can be

established.

       5.      Trial counsel failed to object to the government’s use and the trial court’s
               admission of a summary chart into evidence and the jury room under Rule 1006
               of the Federal Rules of Evidence. Baptiste, Frank, Jones, Parker

       Rule 1006 of the Federal Rules of Evidence allows for voluminous writings, recordings, or

photographs to be presented in a chart or summary and admitted as evidence. In this case, the

government submitted an aerial photograph of the neighborhood where the relevant events occurred.

Locations were identified with different colored stickers: blue for drug recoveries and red for

murders and shootings, the basis for the weapon use and drug possession charges. The summary

permitted here was clearly supported by the evidence presented at trail. The testimony correlated

                                                 -12-
  Case 2:98-cr-00207-JTM-MBN             Document 1030        Filed 03/26/07      Page 13 of 22




to the chart, so no error was made and no objection was necessary. No prejudice could be established

because there was direct testimony during trial as to the events that are identified on the map. The

map was therefore just a summary of this testimony.

       6.      Trial counsel failed to file a motion to suppress evidence seized in violation of
               the Fourth Amendment. Jones, Parker

      Petitioners state that the guns presented at trial were seized without a warrant and some money

was also seized without a warrant. They also claim that this evidence was used to establish that they

were drug dealers, but because the evidence was seized illegally, their Fourth Amendment rights

were violated. However, the government states that the gun was in plain view and the money was

picked up for safe keeping.

     Under Maryland v. Buie, 494 U.S. 325, 327 (1990), arresting officers with a warrant are

allowed to conduct a protective sweep of the premises, which is what occurred during this search.

Ultimately, petitioners then denied ownership of the money, effectively abandoning the cash.

       This evidence did help establish that Jones was involved in drug trafficking. Even if counsel

should have objected to introduction of this evidence upon Fourth Amendment grounds, petitioners

have not established prejudice because counsel would not have prevailed on the motion. Further, if

counsel had prevailed on the motion, it is highly unlikely that the verdict would have been changed

by exclusion of this evidence.




                                                -13-
  Case 2:98-cr-00207-JTM-MBN             Document 1030        Filed 03/26/07      Page 14 of 22




     7.        Trial counsel failed to request a limiting instruction on evidence that was
               admissible for a limited purpose under Rule 105 of the Federal Rules of
               Evidence. Baptiste, Frank, Jones

     Petitioners argue that counsel should have asked for a jury instruction on how the firearms

should be considered with regard to the use component of the offense. Petitioners were not on trial

for murder and they feared the jury may be confused about the weapons and the pictures of the

murder victims. The government counters that this evidence actually was used for many elements

of the offenses.

     The photographs and weapons helped establish the existence of a conspiracy, their

participation, and the weapons possession charges. Therefore, this was not a Strickland error because

possession of the weapons went to several parts of the convictions. Further, the Fifth Circuit has

affirmed the firearm convictions based upon the evidence that the petitioners were involved in a

series of murders and attempted murders related to gang activity. Thus, no relief is warranted.

     8.        Appellate counsel failed to raise trial counsel’s objection to the application of
               the sentencing guideline for murder in violation of the notice and jury trial
               guarantee of the Sixth Amendment. Baptiste, Jones

       Petitioners contend that the sentencing guidelines were too high because they were sentenced

under murder guidelines but had been convicted on trafficking conspiracy.

       However, the government responds that the Fifth Circuit found that there was “no reasonable

way to divorce the firearms charges from the murders and attempted murders” that resulted in the

convictions for the use of firearms in relation to drug crimes. United States v. Baptiste, 264 F.3d

578, 590 (5th Cir. 2001), aff’d in part, rev’d in part. United States v. Baptiste, 309 F.3d 274. The

                                                -14-
  Case 2:98-cr-00207-JTM-MBN              Document 1030          Filed 03/26/07       Page 15 of 22




lower court admitted the evidence in order to avoid confusing and misleading the jury. The district

court stated, “this court will not preside over a trial of half-truths concerning phantom bullets fired

at nothing in particular.” United States v. Jones, No. CIV. A. 98-207, 1999 WL 288803, at *2

(E.D.La. May 10, 1999). Evidence was introduced which demonstrated that these men were involved

in attacking and retaliating against rival gangs during the conspiracy period. These murders had the

potential additionally to protect the conspiracy and intimidate competitors and witnesses.

        The Fifth Circuit found that there was no error in the sentencing guidelines. U.S.S.G. §

2D1.1(d)(1) provides that the application of § 2A1.1 is appropriate when the circumstances

constituting murder under 18 U.S.C. § 1111 are present. 18 U.S.C. § 1111 provides that “murder is

the unlawful killing of a human being with malice aforethought. Every murder perpetrated by

poison, lying in wait, or any other kind of willful, deliberate, malicious and premeditated killing;...is

murder in the first degree.” The evidence put on at trial surrounding the Enclarde murders show

that the murders were premeditated. These murders were planned and committed willfully,

deliberately and maliciously.

      9.        Trial counsel failed to request an instruction to adequately present a defense
                where evidence supported such defense. Jones, Parker, Schexnayder

      Petitioners claim that just buying or selling drugs is not enough to establish a conspiracy

because a buyer-seller relationship may only show a substantive offense, but not one that furthers

a conspiracy. A conspiracy exists when an underlying agreement exists about future acts or an

established relationship. Even repeated transactions may not in themselves necessarily establish a


                                                  -15-
  Case 2:98-cr-00207-JTM-MBN             Document 1030          Filed 03/26/07      Page 16 of 22




conspiracy. Therefore, petitioners argue that defense counsel should have asked for a jury instruction

as to this distinction.

        However, the government states that so long as the jury instructions the court gave accurately

reflected the law on the conspiracy count, this instruction is enough and the buyer-seller relationship

has been adequately covered. Additionally, the government put on a great deal of evidence

concerning gang activity and the fact that these men were known drug dealers. Because the evidence

established more than simply a buyer-seller relationship and that the defendants were participating

in a crack-ring, the instruction given did not unfairly affect the outcome of the case.

      10.       In violation of the Fifth Amendment, counsel failed to discover the amending
                of the indictment without the grand jury being informed. Baptiste, Frank, Jones

      Defendants argue that because the Court amended the indictment from a crime of violence for

the firearm offenses to a drug conspiracy without informing the grand jury, their Fifth Amendment

rights were violated.

        The government contends first that defendants may not raise an issue for the first time on

collateral review as opposed to direct appeal without showing cause for this procedural default and

establishing that actual prejudice results from this error. The government further answers that no

requirement exists that the government must inform the grand jury of such amendments in

superseding indictments. Also, improper legal instructions such as this will not usually provide a

basis for dismissal of an indictment absent egregious conduct on the part of the government lawyer.

In this case, egregious conduct did not occur and defense counsel did not act improperly for failing

to file a motion to dismiss the indictment.


                                                 -16-
  Case 2:98-cr-00207-JTM-MBN             Document 1030          Filed 03/26/07      Page 17 of 22




     Neither have defendants shown that defense counsel would have prevailed had the objection

been made.

     11.       Defense counsel violated petitioners’ Fifth and Sixth Amendment rights,
               including their due process rights, to be present at all stages of the proceeding.
               Baptiste, Jones, Schexnayder

     Petitioners argue in the alternative that the Court erred in failing to provide them an

opportunity to be heard with respect to a jury note concerning markings on an aerial photograph, and

that if counsel were given the opportunity to be heard prior to the Court’s response, counsel was

nonetheless ineffective for failing to object to the Court’s response. The jury submitted a note to the

Court that read:

     Dear Judge Clement,

     We would like to know if it would be possible to:

     1. Get a copy of the police report when Rico Schexnayder was arrested with 29 rocks of crack

and the Glock on 11/9/96.

     2. We would also like a list of what the colored dots on the maps correspond.

     The Court responded:

     Dear Jury,

     1. The police report is not in evidence.

     2. There is no list. The red dots are the shootings or murders. The Blue dots are drug and/or

weapons arrests.

     The numbers on the dots correspond to the numbered counts of the superseding indictment.

                                                 -17-
  Case 2:98-cr-00207-JTM-MBN              Document 1030          Filed 03/26/07       Page 18 of 22




        The government responds that the standard procedure in this Court is to review notes with

defense counsel, which AUSA Maurice Landrieu asserts did in fact occur. The Fifth Circuit has

found that this procedure would be constitutionally sufficient. The defendant’s presence is not

necessary at these conferences between trial court and counsel because the conferences concern

legal matters or questions of law only.

        The response given to the jury summarized the testimony from Special Agent Pecora. The

trial judge is allowed to summarize evidence for the jury if it will help in the jury arriving at a “just

conclusion.” Kyle v. United States, 402 F.2d 443, 445 (5th Cir. 1968). The summary was of prior

testimony and was accurate. The jury also had a copy of the indictment to prevent any confusion.

The government notes that this argument is just another way of arguing that the evidence of the

murders and the shootings should not have been admitted. The Fifth Circuit already ruled on this

evidence, so the subject cannot be readdressed on collateral review.

      12.       Trial counsel failed to request a special verdict form on the conspiracy count for
                the jury to determine the element of the conspiracy offense. Frank, Jones,
                Parker, Schexnayder

      Petitioners argue that they should only be sentenced to the lower penalty because the Court

failed to issue a special verdict. Both the crack and the cocaine conspiracy charges were submitted

to the jury and the jury returned a verdict without indicating for which charge. However, this issue

was raised and disposed of on the previous direct appeal of the original conviction in the Fifth

Circuit, See Baptiste, 309 F.3d at 278, and thus cannot be further considered.



                                                  -18-
  Case 2:98-cr-00207-JTM-MBN             Document 1030          Filed 03/26/07      Page 19 of 22




     13.       The cumulative effect of the errors committed by counsel, the government, and
               the trial court have denied petitioners a fair trial. Baptiste, Jones, Schexnayder

     The Fifth Circuit indicates that habeas relief on this argument should be a rarity. United States

v. Villarreal, 324 F.3d 319, 328 (5th Cir. 2000). The argument petitioners have made is meritless.

Because none of the individual contentions are meritful, no cumulative effect has occurred.

     14.       Trial counsel was ineffective for failing to object to improper comments made
               by the prosecutor in closing arguments. Baptiste, Frank

     Petitioners state that during closing arguments, the government stated, “I agree,

wholeheartedly agree, don’t let Garion McCoy get lost in the shuffle. Because if he walks out of

here, I guarantee you he will kill again, as will every other one of these defendants that are charged

with shootings and charged with murders, should they walk out of this courtroom.” This statement

was not part of the evidence for the jury to consider. Petitioners maintain that counsel should have

objected and asked the court for a corrective, curative jury instruction along with the admonition

given because the comments were not evidence for the jury to consider. They argue that this should

be enough to show cause under Strickland for a finding of ineffective assistance of counsel.

       The Fifth Circuit, however, found these comments harmless when considered in context of

the entire trial. United States v. Baptiste, 264 F.3d 578, 592 (5th Cir. 2001), aff’d in part, rev’d in

part. United States v. Baptiste, 309 F.3d 274. Because this issue has been raised and disposed of,

the issue cannot be considered here and will not meet the Strickland test.




                                                 -19-
  Case 2:98-cr-00207-JTM-MBN             Document 1030          Filed 03/26/07      Page 20 of 22




     15.       Frank argues that his trial counsel violated his rights under the Fifth, Sixth, and
               Fourteenth Amendments when he was not permitted to testify at his own trial.

       Frank states that he wanted to take the stand and asked his lawyer if he could do so. His

counsel, however, opposed the idea. Frank ultimately acquiesced to this view.

       Testifying at trial is a strategic decision and cannot be easily condemned in hindsight. United

States v. Mullins, 315 F.3d 449, 453 (5th Cir. 2002)(quoting United States v. Garcia, 762 F.2d 1222,

1226 (5th Cir. 1985). Frank would not be able to show deficient performance, and even if he could,

he would be unable to show requisite prejudice. Although the defendant makes the ultimate decision

of whether to testify and his lawyer cannot waive this choice, counsel may advise his client that

testifying is not the best strategy. The defendant who knows of his right and concedes to his lawyer’s

advice has not shown that counsel’s performance fell below an objective standard of reasonableness.

     Even if Frank did establish the first prong of the Strickland standard, as the appellant did in

Mullins, Frank must meet the second prong which is whether counsel’s deficient performance

prejudiced the defendant. Mullins found this prong raises a high bar to relief. In this case, Frank had

prior drug convictions, which would have been brought up on cross examination while he was on

the stand. He also would have had to explain his association with the co-conspirators, his use of the

term “Seventh Ward Soldier” and respond to the testimony from the other witnesses. Additionally,

his testimony would have directly conflicted with that of LaShara El-Anin, the victim he crippled.

The Fifth Circuit has held that a defendant does not establish that his testimony at trial would have

assisted him if he would have essentially engaged in a swearing contest with the other witnesses.

United States v. Willis, 273 F.3d 592, 598 (5th Cir. 2001).


                                                 -20-
  Case 2:98-cr-00207-JTM-MBN               Document 1030         Filed 03/26/07       Page 21 of 22




      16.       Frank contends that his trial counsel was inadequately prepared, did not
                properly consult with him, and was incompetent.

        The government contends that these general allegations are completely baseless. Frank fails

to support them with specifics and does not state how different behavior or preparation would have

altered the outcome of the trial. Frank’s complaints about the admission of the murder and

attempted murder evidence were also reiterated, but this issue has already been dealt with.

      17.       Frank states that evidence of the murders and attempted murders is extrinsic
                evidence under Rule 404(b) of the Federal Rules of Evidence and his counsel
                was ineffective for concentrating on this evidence.

      The Fifth Circuit has already affirmed that this evidence went directly to the offenses charged,

and supported the guilty verdict of petitioners. Counsel’s decision to focus on addressing this

evidence was ultimately a strategic choice and should be given great deference. United States v.

Jones, 287 F.3d 325, 331 (5th Cir. 2002). Frank cannot show deficiency or prejudice on this issue.

Additionally, Frank wanted to try another tactic and call his sister to testify on his behalf, but his

sister’s testimony would surely be considered to have been biased anyway.

      18.       Frank contends that he was not given reasonable notice of admission of Rule
                404(b) evidence.

      The government responds that evidence was intrinsic, not extrinsic as Frank labels it.

Therefore, the government was not required to provide a reasonable amount of time for defense to

prepare for this evidence. The Fifth Circuit stated that “evidence of uncharged crimes is not

extrinsic, it is inextricably intertwined with the evidence of the charged offenses, or if it is necessary

to complete the story of the crime.” United States v. Morgan, 117 F.3d 849, 861 (5th Cir. 1997).

                                                  -21-
  Case 2:98-cr-00207-JTM-MBN             Document 1030         Filed 03/26/07      Page 22 of 22




In this case, the evidence of the murders and attempted murders was relevant to prove that the

appellants were trying to protect a drug conspiracy. Again, as seen in the Baptiste appeal, this issue

was “raised and disposed of in a previous appeal from an original judgment of conviction,” which

is “not considered in § 2255 motions.” United States v. Kalish, 780 F.2d 506, 508 (5th Cir. 1986)

accord United States v. Segler, 37 F.3d 1131, 1134 (5th Cir. 1994).

     19.       Frank contends that counsel was ineffective for failing to object to admission of
               Frank’s prior felony conviction.

      The government contends that admission of the prior felony conviction was crucial to

establishing a 18 U.S.C. § 922(g)(1) conviction for possession of a firearm by a convicted felon.

Therefore, this prior conviction was not unduly prejudicial because it was necessary for establishing

an element of the crime for the jury. Counsel was not ineffective for failing to object to its

admission, and such an objection would likely have overruled.

      IV.      Conclusion

       For the reasons stated herein, the habeas petitions arising out of the above captioned matter,

be and are hereby DENIED.

                                     26th day of March, 2007.
       New Orleans, Louisiana, this _____



                                               _________________________________________
                                                       KURT D. ENGELHARDT
                                                      United States District Judge




                                                -22-
